                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LINDA BEDELL, THE LINDA BEDELL                            CIVIL ACTION
INDIVIDUAL RETIREMENT ACCOUNT,
LANDON BEDELL, KEATON BEDELL
AND INNER DESIGN PROFIT SHARING
PLAN,
               Plaintiff,                                 NO. 20-3804

              v.

GEORGE HECKLER, MARK S
CARROW, CASSATT SHORT TERM
TRADING FUND, LP, CV SPECIAL
OPPORTUNITY FUND, LP, CITRIN
COOPERMAN & COMPANY, LLP,
TOPWATER INVESTMENT
MANAGEMENT, LLCD AND GREEN
MOUNTAIN FUND, LLC,
               Defendants.

                                          ORDER

       AND NOW, this 22nd day of January, 2021, upon consideration of Defendant Citrin

Cooperman & Company, LLP’s Motion to Compel Arbitration and Stay Proceedings Pursuant to

9 U.S.C. § 3 (ECF 15), Plaintiffs’ response thereto (ECF 23), and Defendant’s reply (ECF 24),

IT IS HEREBY ORDERED that:

   1. The Motion to Compel is GRANTED.

   2. All proceedings are STAYED pending the completion of arbitration.

   3. Defendant Citrin Cooperman’s Motion to Dismiss (ECF 16) is DENIED WITHOUT

       PREJUDICE, with leave to refile on completion of arbitration.

                                                   BY THE COURT:

                                                   /s/Wendy Beetlestone, J.

                                                   _______________________________
                                                   WENDY BEETLESTONE, J.
